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                    IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEW MEXICO

 Al-Rashaad R. Craft,

                            Plaintiff,
 vs.                                            Case No: 17-CV-0469-NF-KHR

 City of Hobbs Police Department, et al.,

                          Defendant.

                    ORDER SETTING PRETRIAL CONFERENCE

U.S. District Judge Nancy D. Freudenthal

         This matter is before the Court sua sponte on reassignment from Judge Judith C.

Herrera as part of the pilot program for visiting judges to assist in the District of New

Mexico. Pursuant to Federal Rule of Civil Procedure 16(a), the Court will hold a pretrial

conference to set the case for trial on the Court’s calendar, reset the pretrial schedule for

any deadlines that have not already passed in conformance with this Court’s standard

pretrial order, and hear from the parties on expediting disposition of the action or any other

purpose contemplated under Rule 16. Accordingly,

         IT IS ORDERED THAT a pretrial conference is set for September 30, 2019 at 1:30

p.m. in Judge Freudenthal’s Chambers, 2120 Capitol Avenue, Room 2242, Cheyenne, WY

82001.     Counsel may appear by telephone; counsel shall initiate the call through a

conference call operator or otherwise have all counsel on the line before connecting

Chambers at (307) 433-2190. Counsel shall have their calendars available to assist in the
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scheduling of the final pretrial conference, the trial, and any other dispositive matter that

may require an oral setting.      These matters will be scheduled during this pretrial

conference. Counsel should contact Chambers at (307) 433-2190 for any questions.

       IT IS FURTHER ORDERED THAT, at least 7 days prior to the pretrial

conference, in compliance with the Court’s General Administrative Order 2013-02 (see

http://www.wyd.uscourts.gov/htmlpages/genorders.html), the parties shall file a joint case

management plan in the form provided on the Court’s website, under Judge Freudenthal’s

Forms – New Mexico, http://www.wyd.uscourts.gov/htmlpages/forms.html#NDFForms.

By the same date, the parties shall also email their joint case management plan in Word to

NMjudgesNDF@wyd.uscourts.gov. For provisions concerning deadlines already passed,

counsel should note the date and docket entry that established the deadline.

       The Court further directs counsel and the parties to the Court’s webpage for the

Court’s pretrial and trial standard practices which shall apply in this case.

http://www.wyd.uscourts.gov/htmlpages/judge_freudenthal.html

       Dated this QG day of August, 2019.



                                          NANCY
                                              CY D.
                                                 D FREUDENTHAL
                                          UNITED STATES DISTRICT JUDGE




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